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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

PAUL CLEMENTS, an individual, JOY MORRIS,
an individual, ROSA KELLY, an individual,                      Hon. Robert J. Jonker
ANNIE BENTON, an individual, and RANDALL
ABBOT, an individual,                                          Case No. 1:18−cv−00655−RJJ−PJG

                       Plaintiffs,

       v.

RUTH JOHNSON, in her official
Capacity as Michigan Secretary of
State, and MICHIGAN BOARD OF
STATE CANVASSERS,

                  Defendants.
____________________________________/

            AMENDED VERIFIED COMPLAINT FOR DECLARATORY AND
                           INJUNCTIVE RELIEF

       Plaintiffs Paul Clements (“Clements”), Joy Morris, Rosa Kelly, Annie Benton, and

Randall Abbott (“Petition Signatories”) (collectively “Plaintiffs”), for their complaint for

declaratory and injunctive relief against Defendants Ruth Johnson, in her official capacity as

Michigan Secretary of State, and the Michigan Board of State Canvassers, state as follows:

                                              I.
                                        INTRODUCTION

       1.      This case arises out of a fatal defect in Michigan’s statutes (MCL §§168.544d and

168.552a) governing how the boxes on a countywide Nominating Petition Form for public office

identifying what city or township a petition signer is registered in, has adversely impacted

Plaintiffs’ Federally-protected access to the ballot and right to vote, respectively, in the August 7,


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2018 Primary Election, in Michigan’s 6th Congressional District (“the Michigan 6th”) on the

West side of the State, which includes all of Berrien, Cass, Kalamazoo, St. Joseph, and Van

Buren counties, and the majority of Allegan county.

       2.       The Michigan statutes at issue present a trap for the unwary candidate and petition

signatory whom may accurately provide (a) that they are a resident of the county at issue, (b) that

they are registered to vote in the proper district, (c) their name, signature, address, and date of

signing, but whom may provide incorrect, duplicative information about the jurisdiction in which

they live by checking both of the jurisdictional boxes presented on the form, which is a facial

falsehood enabled by statute; or whom may provide no information about the jurisdiction in

which they live, even though mandated to do so by statute, by checking none of the boxes

offered, which is a facial falsehood enabled by statute, or by checking the wrong box to identify

the city or township in which the person is registered to vote.

       3.       This   “city/township    trap”    unduly    burdens    candidates    and    petition

signatories/voters with requirement that the signatory correctly answer an unnecessary

geography test question when they have already identified their residency requirement by

including their address on the far right side of the state-mandated form.

       4.       Plaintiffs seek immediate declaratory and injunctive relief, respectfully requesting

this Honorable Court to issue a temporary restraining order and/or a preliminary injunction to

prevent the printing of ballots which do not contain Mr. Clements’ name and to require his name

to be added to the ballots provided to voters for the office of United States Representative for the

Michigan 6th.

                                                 II.

                                            PARTIES



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           5.    Paul Clements is a candidate who is seeking the Democratic Party’s nomination in

this race for a seat in the United States House of Representatives.

           6.    Joy Morris is a registered voter who resides in the Michigan 6th and who signed

Mr. Clements’ countywide Nominating Petition Form, though her signature was invalidated by

the actions of one or both of the Defendants.

           7.    Rosa Kelly is a registered voter who resides in the Michigan 6th and who signed

Mr. Clements’ countywide Nominating Petition Form, though her signature was invalidated by

the actions of one or both Defendants.

           8.    Annie Benton is a registered voter who resides in the Michigan 6th and who

signed Mr. Clements’ countywide Nominating Petition Form, though her signature was

invalidated by the actions of one or both of the Defendants.

           9.    Randall Abbot is a registered voter who resides in the Michigan 6th and who

signed Mr. Clements’ countywide Nominating Petition Form, though his signature was

invalidated by the actions of one or both Defendants.

           10.   Defendant Ruth Johnson (“Johnson”) is the Michigan Secretary of State and is

named in her official capacity. Defendant Johnson’s official duties include, in relevant part,

administering election law and voter registration. She is the Chief Elections Officer of the State

of Michigan.

           11.   Defendant Michigan Board of State Canvassers (the “Board”) is a body

comprised of members appointed by the Governor with the advice and consent of the Michigan

Senate. The Board’s official duties include, in relevant part, canvassing nominating petitions

filed with the Secretary of State, and voting to certify candidates for appearing on Michigan

ballots.



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                                                 III.

                                 JURISDICTION AND VENUE

       12.     Jurisdiction is proper in this court pursuant to 28 U.S.C. §1331 because the action

arises under the Constitution of the United States.

       13.     Jurisdiction is also proper in this court pursuant to 28 U.S.C. §1343 because the

action seeks redress of the deprivation, under color of State law, Plaintiffs’ Constitutional rights,

privileges, or immunities.

       14.     Venue is proper in this court pursuant to 28 U.S.C. §1391(b)(1) and (2) as

Defendants reside in the Michigan 6th Congressional District, which is wholly included in the

U.S. District Court for the Western District of Michigan, and, the all or a substantial part of the

acts and omissions giving rise to the action occurred in this district.

                                                 IV.

                                  GENERAL ALLEGATIONS

       15.     A candidate for Congress in Michigan must: (A) be over 25 years of age; (B) be a

U.S. citizen for at least seven years; and (C) submit 1,000 valid petition signatures on his or her

nominating form.

       16.     Specifically, the petition form approved for countywide use has two boxes at the

far left margin of the form. The words next to the first box says “CITY OF” and the words next

to the second box says “TOWNSHIP OF.”

       17.     There is no choice and are no words on the form for “VILLAGE OF.”

       18.     Under the statutes, if a citizen petition signatory checks neither of the two boxes,



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their signature still counts.

          19.   Under the statutes, if a citizen checks both of the two boxes, their signature

counts.

          20.   However, under the statutes, if a citizen checks the wrong box, their signature

does not count.

          21.   The Office of the Secretary of State has also taken these positions. (Exhibit 1:

SOS Circulating and Canvassing Countywide Nominating and Qualifying Petition Forms.)

          22.   The statutes are silent on what the citizen petition signatory is supposed to do if

he or she lives in a village.

          23.   As indicated above, the Michigan 6th is made up of all of Berrien, Cass,

Kalamazoo, St. Joseph, and Van Buren counties, and the majority of Allegan County.

          24.   Within these counties are no fewer than sixty-six (66) cities, townships, and

villages that share identical names.

          25.   The list of those jurisdictions is as follows, organized by County:

          Berrien County
                 A.   City of Buchanan  Buchanan Township
                 B.   City of New Buffalo  New Buffalo Township
                 C.   City of St. Joseph  St. Joseph Charter Township
                 D.   City of Coloma  Coloma Charter Township
                 E.   City of Niles  Niles Charter Township
                 F.   City of Watervliet  Watervliet Charter Township
                 G.   Baroda Township  Village of Baroda
                 H.   Galien Township  Village of Galien
                 I.   Three Oaks Township  Village of Three Oaks
                       i)     Subtotal: 18 Jurisdictions
          Cass County
                 A.   Marcellus Township  Village of Marcellus
                      i)      Subtotal: 2 Jurisdictions
          Kalamazoo County
                 A.   City of Kalamazoo  Kalamazoo Charter Township

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              B.    Schoolcraft Township  Village of Schoolcraft
              C.    Comstock Charter Township  Comstock (Other Unincorporated)
              D.    Richland Township  Village of Richland
              E.    Climax Township  Village of Climax
                    i)      Subtotal: 10 Jurisdictions
       St. Joseph County
               A.   City of Sturgis  Sturgis Township
               B.   Burr Oak Township  Village of Burr Oak
               C.   Colon Township  Village of Colon
               D.   Constantine Township  Village of Constantine
               E.   Mendon Township  Village of Mendon
               F.   White Pigeon Township  Village of White Pigeon
                    i)      Subtotal: 12 Jurisdictions
       Van Buren County
               A.   City of Bangor  Bangor Township
               B.   City of Hartford  Hartford Township
               C.   City of South Haven  South Haven Charter Township
               D.   Lawrence Township  Village of Lawrence
               E.   Bloomingdale Township  Village of Bloomingdale
               F.   Decatur Township  Village of Decatur
               G.   Paw Paw Township  Village of Paw Paw
                    i)      Subtotal: 14 Jurisdictions
       Allegan County
               A.   City of Allegan  Allegan Township
               B.   City of Saugatuck  Saugatuck Township
               C.   City of Wayland  Wayland Township
               D.   Hopkins Township  Village of Hopkins
               E.   Martin Township  Village of Martin
                    i)      Subtotal: 10 Jurisdictions

       26.    Adding to the confusion, included in this total are three villages in Berrien County

(Baroda, Galien, and Three Oaks); one village in Cass County (Marcellus); three villages in

Kalamazoo County (Schoolcraft, Richland, and Climax); five villages in St. Joseph County (Burr

Oak, Colon, Constantine, Mendon, and White Pigeon); four villages in Van Buren County

(Lawrence, Bloomingdale, Decatur, and Paw Paw); and two villages in Allegan County

(Hopkins and Martin) which share the same name as a township.


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        27.    Below is a map of the Michigan 6th, available from the Michigan Secretary of

State website which identifies the identically named jurisdictions with red arrows. 1 (A larger

copy is attached as Exhibit 2.)




        28.    Mr. Clements obtained 1,346 signatures seeking to be included on the primary

election ballot for the Michigan 6th.

        29.    In obtaining the signatures, Mr. Clements used the state-mandated countywide

Nominating Petition form of nominating petition, as administered by Defendants.

        30.    According to MCL §168.544d, the countywide Nominating Petition for partisan
1
  The map does not include the village names, so a red arrow only points to the township name
that shares a village name.
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office is required to conform to the rules in MCL §168.544c and requires that the secretary of

state “shall provide for identification of the city or township in which the person signing the

petition is registered.” MCL §168.544d.

       31.      The rules in MCL §168.544c require, among other things, that the petition contain

the printed name, signature, street address, and zip code of each voter signing the petition. MCL

§168.544c(1).

       32.      According to MCL §168.544c(1) and §168.544d, each voter signing such a

petition form must include the following: printed name, signature, street address, zip code, and

the identification of the city or township in which the voter is registered.

       33.      Of the 1,346 signatures submitted, the Board invalidated 198 upon a facial

review, leaving 1,148 remaining. (Exhibit 3: Staff Review of Nominating Petition.)

       34.       In addition, Andrew Davis filed a challenge against 417 signatures on Mr.

Clements’ petition submissions. (Exhibit 4) As a result, the Board invalidated an additional 157

signatures, providing that the “majority of signatures invalidated for writing an

‘incorrect jurisdiction of registration’ (emphasis added) were disqualified because the signer

wrote the name of the city or township in which he or she is registered to vote, and: (1) The

jurisdiction named could refer to a city or township which shares the same name, and (2) When

indicating whether the jurisdiction was a city or township, the signer checked the wrong box.”

(Exhibit 3, pp. 1-2.)

       35.      The Defendants maintain a computerized database of voter registrations known as

the Qualified Voter File. (Exhibit 5, Michigan Bureau of Elections Election Officials’ Manual,

Chap. 2. See, for example, p. 2.)

       36.      Mr. Davis challenged 102 signatures as having incorrectly checked the box for



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“township” when “city” was the correct answer or, alternatively, incorrectly checked the box for

“city” when “township” was the correct answer.

        37.      As a result of the facial review and the challenge by Mr. Davis, most significantly

the challenges based on the “city/township trap”, the Board determined that Mr. Clements had

only presented 991 valid signatures on his petition, only nine (9) short of the required 1,000.

(Exhibit 3, p. 1.)

        38.      If the 102 signatures challenged as having checked the wrong city/township boxes

are validated, then Mr. Clements will have the required signatures to be placed on the August 7,

2018 Primary Election ballot.

        39.      At present, Mr. Clements’ name is not on the ballot and Defendant Johnson will

very soon be printing ballots that do not contain Mr. Clements’ name.

                                                  IV.

           COUNT I –DECLARATION THAT THE STATUTES VIOLATE THE

         UNITED STATES CONSTITUTION ON THEIR FACE OR AS APPLIED

        40.      Plaintiffs incorporate all preceding paragraphs as if fully set forth herein.

        41.      Defendants and Plaintiffs have adverse legal interests and there is a substantial

case or controversy at issue of sufficient immediacy and reality to warrant the issuance of a

declaratory judgment as requested herein. This is especially true as the matter at issue involves

fundamental constitutional rights affecting freedom of association, freedom of expression and the

right to vote.

        42.      Candidates and voters in the State of Michigan have a First Amendment right to

associate freely with each other without arbitrariness by the State based on that association; to

participate in the political process and vote in favor of candidates without arbitrariness by the



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State based on the way the Nominating Petition Form is designed; and to express their political

views without arbitrariness by the State because of the expression of those views or the content

of their expression.

        43.    The Michigan statutes governing the format of the countywide Nominating

Petition Form violates the First Amendment because it diminishes and marginalizes and – if left

to stand – prohibits Mr. Clements from access to the ballot. Moreover, it diminishes and

marginalizes the votes of petition signatories whose signatures have been invalidated due to

arbitrary, unlawful and unreasonable requirements under state law.

        44.    The Fourteenth Amendment protects the First Amendment freedoms from

encroachment by the states.

        45.    Michigan law, specifically MCL §168.544c(1) and §168.544d unduly burdens

candidates and petition signatories/voters by, including, but not limited to, limiting the field of

candidates from which voters might choose, and impermissibly encroaching upon candidates’

and petition signatories/voters’ right of free expression and association.

        46.    There is no rational basis, let alone a compelling state interest for the

requirements at issue, they are arbitrary, unlawful, unreasonable, and no purpose is served by the

“city/township trap” particularly when the same state law at issue requires petition

signatories/voters to fill out their full address on the far right side of the Nominating Petition

Form.

                                                 V.

                                     RELIEF REQUESTED

        WHEREFORE, Plaintiffs request an order and judgment for the following relief:

        (a)    Declaring that Paul Clements is eligible as a candidate for the U.S. House of


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Representatives in the Sixth Congressional District primary election;

        (b)     Declaring that Paul Clements shall be placed on the ballot as a candidate for the

U.S. House of Representatives in the Sixth Congressional District primary election;

        (c)     Ordering Defendants Ruth Johnson, the Michigan Secretary of State, and the

Board of State Canvassers to certify Paul Clements as a candidate for the U.S. House of

Representatives in the Sixth Congressional District;

        (d)     Ordering Defendants Ruth Johnson, the Michigan Secretary of State, and the

Board of State Canvassers not to print official ballots for the Democratic Primary Election

without the name of Paul Clements as a candidate for the U.S. House of Representatives in the

Sixth Congressional District;

        (e)     Declaring MCL §§168.544d and 168.552a(1) unconstitutional as applied, or,

alternatively, on their face;

        (f)     Ordering an expedited evidentiary hearing in this matter, allowing the Parties to

offer evidence and testimony;

        (g)     Ordering such other and further relief as is necessary and appropriate to provide

complete relief to Plaintiffs;

        (h)     Ordering such other and further relief as is appropriate; and

        (i)     Awarding attorney fees and costs necessitated by bringing this action.


                                              Respectfully submitted,

                                              THE MILLER LAW FIRM, P.C.,


                                              /s/ Melvin Butch Hollowell
                                              Melvin Buch Hollowell (P37834)
                                              Angela L. Baldwin (P81565)
                                              Martha J. Olijnyk (P60191)

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Dated: June 12, 2018




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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

PAUL CLEMENTS, an individual, JOY MORRIS,
an individual, ROSA KELLY, an individual,                    Hon. Robert J. Jonker
ANNIE BENTON, an individual, and RANDALL
ABBOT, an individual,                                        Case No. 1:18−cv−00655−RJJ−PJG

                      Plaintiffs,

       v.

RUTH JOHNSON, in her official
Capacity as Michigan Secretary of
State, and MICHIGAN BOARD OF
STATE CANVASSERS,

                  Defendants.
____________________________________/
                              PROOF OF SERVICE
       Alexis C. Haan certifies that on June 12, 2018, she served Amended Verified Complaint

for Declaratory and Injunctive Relief and this Proof of Service via Certified Mail upon:

Ruth Johnson
Michigan Secretary of State
State of Michigan
Legal Services Administration
Richard H. Austin Building
430 W. Allegan, 4th Floor
Lansing, Michigan 48918

State Board of Canvassers
State of Michigan
c/o Bureau of Elections
Michigan Department of State
Richard H. Austin Building
430 West Allegan, 1st Floor
P.O. Box 20126
Lansing, Michigan 48901
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       I declare under the penalty of perjury that the statements made above are true to the best

of my knowledge, information, and belief.

                                                   /s/ Alexis C. Haan
                                                   Alexis C. Haan




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